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 11   RON BENDER (SBN 143364)
      MONICA Y. KIM (SBN 180139)
 22   KRIKOR J. MESHEFEJIAN (SBN 255030)
 33   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
      10250 Constellation Boulevard, Suite 1700
 44   Los Angeles, California 90067
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: rb@lnbyb.com; myk@lnbyb.com; kjm@lnbyb.com
 66   Attorneys for Chapter 11 Debtors
 77   and Debtors in Possession

 88                               UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
 99                                 SAN FERNANDO VALLEY DIVISION

10
10    In re:                                              Lead Case No.: 1:17-bk-12408-MB
                                                          Jointly administered with:
11
11    ICPW LIQUIDATION CORPORATION, a                     1:17-bk-12409-MB
      California corporation1,
12
12
                                                          Chapter 11 Cases
13
13             Debtor and Debtor in Possession.
      ____________________________________
14
14    In re:                                              FINAL  APPLICATION   OF   CRAIG-
                                                          HALLUM CAPITAL GROUP LLC FOR
15
15    ICPW LIQUIDATION CORPORATION, a                     APPROVAL     OF     FEES    AND
      Nevada corporation2,                                REIMBURSEMENT    OF    EXPENSES;
16
16                                                        DECLARATION OF STEVE RICKMAN IN
                                                          SUPPORT THEREOF
17
17             Debtor and Debtor in Possession.
      ____________________________________
18
18                                                        DATE:     December 12, 2017
           Affects both Debtors                           TIME:     1:30 p.m.
19
19
                                                          PLACE:    Courtroom “303”
20      Affects Ironclad Performance Wear                           21041 Burbank Blvd.
20
      Corporation, a California corporation only                    Woodland Hills, CA
21
21
        Affects Ironclad Performance Wear
22
22    Corporation, a Nevada corporation only
23
23
24
24
25
25
26
26
      1
27
27        Formerly known as Ironclad Performance Wear Corporation, a California corporation.
      2
          Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
28
28

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 1           CRAIG HALLUM CAPITAL GROUP LLC (“C-H”), financial advisor to ICPW

 2    Liquidation Corporation, a California corporation, formerly known as Ironclad Performance Wear

 3    Corporation, a California corporation, and ICPW Liquidation Corporation, a Nevada corporation,

 4    formerly known as Ironclad Performance Wear Corporation, a Nevada corporation, the debtors and

 5    debtors-in-possession in the above-captioned Chapter 11 bankruptcy cases (collectively, the

 6    “Debtors”), hereby submits its Final Application for Approval of Fees and Reimbursement of

 7    Expenses (the “Application”) for services rendered and expenses incurred for the benefit and on

 8    behalf of the Debtors. Any opposition or responsive paper must be filed and served at least fourteen

 9    (14) days prior to the hearing on this Application in the form required by Local Bankruptcy Rule

10    9013-1(f).

11                                                     I.

12       INTRODUCTION REGARDING C-H’S SERVICES AND REQUESTED FEES AND

13                                                EXPENSES

14           C-H was employed by the Debtors as financial advisor pursuant to 11 U.S.C. § 327 with

15    compensation pursuant to 11 U.S.C. § 328. C-H was not required to maintain time records in

16    connection with the services it provided to the Debtors. C-H was authorized to be paid its fees

17    on an interim basis at the closing of the sale of the Debtors’ assets but is required to file a final

18    fee application in these cases.

19           C-H worked around the clock during an intensive, complex, and challenging sale process,

20    during which time C-H handled not only the requests of potential buyers, but also the requests of

21    the Debtors, the Official Committee of Equity Holders and the Official Committee of Unsecured

22    Creditors appointed in these cases, and their respective professionals. C-H worked with the

23    Debtors in the three-month period leading up to the Debtors’ bankruptcy filings, and C-H

24    conducted extensive due diligence with the Debtors’ management team and board of directors.

25    The Debtors employed C-H in these bankruptcy cases to render, among others, the following

26    types of professional services:

27           1.      Identify acquirers, which in the opinion of C-H and the Debtors, are most likely to

28    acquire the Debtors;

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 1           2.      Assist the Debtors in formulating a strategy for soliciting interest from acquirers,

 2    whether approached by C-H or whether the Debtors are approached proactively, which may have

 3    an interest in acquiring the Debtors (the “Potential Acquirers”), and the development of

 4    procedures and timetable for marketing the Debtors to the Potential Acquirers;

 5           3.      If requested, assist in the preparation of management’s marketing materials

 6    describing the Debtors;

 7           4.      Introduce the Debtors to Potential Acquirers, and coordinate due diligence

 8    investigations of the Debtors by Potential Acquirers; and

 9           5.      Along with the Debtors, evaluate proposals from interested parties regarding a

10    “Sale or Restructuring” (as that term is defined in C-H’s employment application, formulate

11    negotiations strategies, and assist in negotiations and closing of a Sale or Restructuring.

12           C-H provided services to the Debtors related to all of these categories of tasks, and

13    provided substantial assistance to the Debtors in connection with the Debtors’ marketing and sale

14    process, fostering a competitive bidding environment, assisting the Debtors with a successful

15    auction process that led to the successful closing of a sale of the Debtors’ assets for the purchase

16    price of $25,250,000.

17           C-H has not been paid any money by the Debtors at any time. As set forth in C-H’s

18    Court-approved employment application, C-H’s compensation for the services provided to the

19    Debtors is $275,000 plus 2.5% of the “Aggregate Transaction Value” in excess of $20 million up

20    to $22.5 million, plus 4.5% of the Aggregate Transaction Value in excess of $22.5 million.

21    “Aggregate Transaction Value” means in relevant part “the total consideration paid and to be

22    paid (which shall be deemed to include amounts paid or to be paid into escrow) directly or

23    indirectly, regardless of how allocated or the form of consideration the amount of any exit

24    financing raised in connection with any Sale or Restructuring), to the Company or to its security

25    holders or other creditors in connection with the Sale or Restructuring, including, without

26    limitation: (i) cash….”

27

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 1           In addition to any fees payable to C-H, the Debtors agreed to reimburse C-H for its out-of

 2    pocket expenses incurred in connection with this engagement, including database

 3    communication and travel expenses and the fees and expenses of C-H’s legal counsel.

 4           Based on the Aggregate Transaction Value of $25,250,000, C-H is entitled to the

 5    following fee: $275,000 + $62,500 (2.5% of the Aggregate Transaction Value in excess of $20

 6    million up to $22.5 million) + $123,750 (4.5% of the Aggregate transaction Value in excess of

 7    $22.5 million) = $461,250.00.

 8           Additionally, C-H incurred expenses in the amount of $23,189.08 in connection with the

 9    services it provided to the Debtors.

10           Accordingly, C-H is requesting final approval of fees in the amount of $461,250.00 and
11    expenses in the amount of $23,189.08, for total fees and expenses of $484,439.08. That total
12    amount represents less than 2% of the total purchase price of $25,250,000.
13                                                   II.
14                                               SUMMARY
15
       Name of applicant                                  C-H
16

17     Name of client                                     ICPW Liquidation Corporation, a California
                                                          corporation, formerly known as Ironclad
18                                                        Performance Wear Corporation, a California
                                                          corporation; and ICPW Liquidation
19                                                        Corporation, a Nevada corporation, formerly
                                                          known as Ironclad Performance Wear
20
                                                          Corporation, a Nevada corporation (the
21                                                        “Debtors”)
       Time period covered by this application            Start: September 8, 2017, provided however,
22                                                        that, as set forth in the Court-approved
                                                          Engagement Agreement, expenses incurred
23                                                        under the Pre-Petition Engagement Agreement
24                                                        would be deemed payable under the Court
                                                          Approved Engagement Agreement End:
25                                                        November 20, 2017

26     Total compensation sought this period              $461,250.00
27
       Total expenses sought this period                  $23,189.08
28

                                                      3
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 1     Petition date                                      The Debtors commenced their chapter 11
                                                          bankruptcy cases with the filing of voluntary
 2                                                        petitions under chapter 11 of the Bankruptcy
 3                                                        Code on September 8, 2017
       Retention date                                     September 8, 2017
 4
       Date of entry of order approving employment  November 8, 2017 (as docket number 190)
 5                                                  with employment effective as of September 8,
                                                    2017
 6
       Total compensation approved by interim order N/A – First fee application
 7     to date

 8     Total expenses approved by interim order to        N/A – First fee application
       date
 9

10     Total allowed compensation paid to date            N/A – First fee application
       Total allowed expenses paid to date                N/A – First fee application
11
       Blended rate in this application for all           N/A
12     attorneys
13
       Blended rate in this application for all           N/A
14     timekeepers

15     Compensation sought in this application            N/A
       already paid pursuant to a monthly
16     compensation order but not yet allowed
17
       Expenses sought in this application already        N/A
18     paid pursuant to a monthly compensation
       order but not yet allowed
19
       Number of professionals included in this           Four professionals at C-H provided services to
20
       application                                        the Debtors
21                                                   III.
22                          FEES AND EXPENSES INCURRED AND NOTICE
23    A.     REQUEST         FOR       ALLOWANCE            AND     PAYMENT         OF     FEES      AND
24           REIMBURSEMENT OF EXPENSES
25           During the Covered Period, C-H became entitled to receive fees in the amount of
26    $461,250.00, and incurred expenses in the amount of $23,189.08, for total fees and expenses of
27    $484,439.08.      That total amount represents less than 2% of the total purchase price of
28

                                                      4
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 1    $25,250,000. Pursuant to C-H’s agreements with the Official Committee of Equity Holders and

 2    the United States Trustee, C-H is required to file a final fee application in these cases. By way of

 3    this Application, C-H is seeking the Court’s approval and payment of all of the foregoing fees and

 4    expenses on a final basis.

 5    B.      PROPER NOTICE

 6            C-H understands that the Debtors’ bankruptcy counsel has served notice of this

 7    Application and the amount of fees and expenses sought herein upon the Debtors, all creditors,3

 8    the Official Committee of Unsecured Creditors and its counsel, the Official Committee of Equity

 9    Holders and its counsel, the Office of the United States Trustee, and all parties who have

10    requested special notice.

11                                                          IV.

12                     STATEMENT OF FACTS AND RELEVANT INFORMATION

13    A.      Background Information.

14            C-H incorporates by reference the background information set forth in the first interim fee

15    application filed by the Debtors’ bankruptcy counsel.

16    B.      Retention and Date of the Entry of the Order Approving the Debtors’ Employment

17            of C-H.

18            The Debtors’ retained C-H to serve as their financial advisor with such employment to be

19    effective as of the Petition Dates. The Court approved the Debtors’ employment of C-H pursuant

20    to an order entered on November 8, 2017 as docket number 190.

21    C.      Fees and Expenses Previously Requested.

22            C-H has not filed any previous applications seeking the approval and/or payment of fees

23    and expenses, and C-H has not been paid any post-petition money by the Debtors.

24    D.      Brief Narrative Statement of Services Rendered.

25            In connection with the Debtors’ bankruptcy cases, C-H performed, among other tasks, the

26    following tasks for the Debtors:

27
      3
        All creditors means all creditors who are scheduled by the Debtors as being owed money and/or who have filed a
28    timely proof of claim.


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 1           1.      C-H identified acquirers, which in the opinion of C-H and the Debtors, were the

 2    most likely to acquire the Company;

 3           2.      C-H assisted the Debtors in formulating a strategy for soliciting interest from

 4    acquirers, whether approached by C-H or whether the Debtors was approached proactively;

 5           3.      C-H developed procedures and timetables for marketing the Debtors to potential

 6    acquirers;

 7           4.      C-H assisted in the preparation of management’s marketing materials describing

 8    the Debtors, including a teaser, management presentation, update presentation delivered at the

 9    National Safety Conference, and financial models including management’s projections;

10           5.      6.      C-H contacted more than fifty potential acquirers and introduced the
11    Debtors;
12           7.      C-H assisted the Debtors in negotiating and signing Non-Disclosure Agreement’s
13    with more than twenty potential acquirers;
14           8.      C-H established and managed a very comprehensive data room, and C-H
15    continuously updated the data room with all additional relevant information as events unfolded in
16    these cases;
17           9.      C-H and its team made themselves extremely available to prospective overbidders,
18    including assisting the Debtors with providing comprehensive management presentations about
19    the Debtors’ business and the overbid process;

20           10.     C-H coordinated due diligence investigations of the Debtors by potential acquirers;

21           11.     C-H coordinated meetings and arranged for meeting space in Indianapolis for
22    presentations to potential acquirers that were attending the National Safety Conference;
23           12.     C-H solicited acquisition proposals from interested potential acquirers;
24           13.     C-H vetted potential bidders’ financial qualifications, qualified two overbidders,
25    and provided the Debtors and management with advice and information in connection with
26    potential and actual bidders;
27           14.     C-H served as a source of updates and information to both Committees appointed
28    in these cases and their professionals during the sale process, including by providing to both

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 1    Committees periodic and detailed, written sale updates, engaging in numerous conversations with

 2    Committee professionals, and providing to Committee professionals requested information during

 3    the sale process;

 4           15.     C-H traveled to and participated in the bankruptcy court proceedings, including

 5    providing declarations in connection with bidding procedures and the proposed sale, and

 6    testimony in connection with bidding procedures;

 7           16.     C-H delivered a copy of the bidding procedures order along with a template asset

 8    purchase agreement prepared by the Debtors’ bankruptcy counsel to all potentially interested

 9    overbidders, and C-H continuously assisted all potentially interested overbidders with their due

10    diligence efforts;
11           17.     C-H actively assisted the Debtors during the auction proceedings held in the
12    bankruptcy court, including in connection with analyzing bids and negotiating with bidders; and
13           18.     Along with the Debtors, C-H evaluated proposals from interested parties,
14    formulated negotiation strategies, and assisted in negotiations, the auction process and closing of
15    the sale.
      E.      Detailed Listing of Expenses.
16

17           As set forth in the application to employ C-H, the Debtors agreed to reimburse C-H for its

18    out-of-pocket expenses incurred in connection with this engagement, including database

19    communication and travel expenses and the fees and expenses of C-H’s legal counsel.
20
             Attached hereto as Exhibit “2” is an itemization of all expenses that C-H incurred on
21
      behalf of the Debtors. In summary, C-H incurred the following expenses:
22
      Expense Category                 Sum of Amount                     Notes
23
      Communication:       Cellular $134.99
24
      phone
25    Communication: Internet       $89.90
      Other: Conference/Education   $150.00                              National Safety Conference
26                                                                       Admission Fees
      Other: Professional Fees: $35.00                                   Courtcall charges
27
      Legal Fees
28    Other: Travel & Ent: Air/Rail $7,783.70


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 1    Other:    Travel    &    Ent:    $865.07
      Auto/Taxi/Parking
 2    Other: Travel & Ent: Lodging     $2,388.49
 3    Other: Travel & Ent: Meals       $360.93
      Database services                $3,404.00
 4    Legal Services of Faegre         $7,977.00
      Baker Daniels LLC
 5

 6
             All expenses that C-H advanced on behalf of the Debtors were actual expenses that were
 7
      necessarily incurred and are properly charged as administrative expenses of the Debtors’ chapter
 8
      11 estates.
 9
      F.     Description of Professional Education and Experience.
10
             Attached hereto as Exhibit 3 is the firm resume of C-H and Steve Rickman. The primary
11
      person in charge of providing services to the Debtors was Steve Rickman, who has over twenty
12
      years of experience advising companies on strategic mergers and acquisitions, private and public
13
      financing, and strategic advisory. He has completed over 70 transactions with an aggregate deal
14
      value of more than $4 billion.
15
      G.     Source and Amount of Cash Available to Pay C-H’s Allowed Fees and Expenses.
16
             C-H incorporates by reference the information set forth in the fee application filed by the
17
      Debtors’ bankruptcy counsel.
18
                                                     V.
19
                                          STANDARD OF LAW
20
             Pursuant to C-H’s employment application approved by the Court, C-H is not required to
21
      maintain time records, and C-H’s compensation is based on 11 U.S.C. § 328, which provides for
22
      the employment of a professional “on any reasonable terms and conditions of employment,
23
      including on a retainer, on an hourly basis, on a fixed or percentage fee basis or on a contingent
24
      fee basis.” The reasonableness of C-H’s fees in this case, which amounts to less than 2% of the
25
      purchase price, is demonstrated by the tasks C-H was required to, and did, perform, in connection
26
      with the sale of the Debtors’ assets, and the results that C-H served an instrumental role in
27
      achieving for the benefit of the Debtors’ and the Debtors’ estates. C-H’s presence established for
28

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 1    the Debtors a credible, thoroughly marketed sale process that fostered potential acquirers’ trust

 2    and interest in the sale process. C-H’s efforts ultimately led to a successful sale process and sale

 3    closing, and C-H’s efforts should be rewarded by approval of, and payment to, C-H, on a final

 4    basis, C-H’s requested fees.

 5           In summary, C-H’s extensive efforts, during which C-H and its professionals worked

 6    around the clock in a time intensive, high-pressure, fast-paced sale environment, assisted the

 7    Debtors in attracting two overbidders at the auction, who ultimately both participated in a

 8    complex, highly competitive bidding scenario, involving multiple overbids which increased the

 9    purchase price of the Debtors from an initial bid of $20 million, to $25.25 million, and which

10    ultimately resulted in the successful closing of the sale. C-H’s commission represents less than
11    2% of the sale price for the Debtors’ assets. C-H’s requested fees should be approved.
12    ///
13    ///
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 1                                                    VI.

 2                                             CONCLUSION

 3           WHEREFORE, C-H respectfully requests that this Court enter an order:

 4           1.      Approving on final basis fees of $461,250.00 and expenses of $23,189.08 for total

 5    fees and expenses of $484,439.08, and authorizing C-H to be paid this sum of $484,439.08 from the

 6    funds in these estates; and

 7           2.      Granting such other and further relief as the Court deems just and proper.

 8    Dated: November 21, 2017                     LEVENE, NEALE, BENDER, YOO & BRILL
 9                                                 L.L.P.

10
                                                   By:___/s/ Krikor J. Meshefejian
11                                                       RON BENDER
                                                         LEVENE, NEALE, BENDER, YOO
12
                                                         & BRILL L.L.P.
13                                                       Attorneys for Chapter 11 Debtors and
                                                         Debtors in Possession
14

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 1                                  DECLARATION OF STEVE RICKMAN

 2            I, Steve Rickman, hereby declare as follows:

 3            1.      I have personal knowledge of the facts set forth below and, if called to testify,

 4    would and could competently testify thereto. Capitalized terms not otherwise defined herein shall

 5    have the same meaning as ascribed to such terms in the Employment Application to which this

 6    Declaration is attached (the “Application”).

 7            2.      I am the Managing Director of Investment Banking Mergers and Acquisitions at

 8    Craig-Hallum Capital Group LLC (“C-H”). I have over 20 years of experience advising growth

 9    companies on strategic mergers and acquisitions, private and public financings, and strategic

10    advisory. I have completed over 70 transactions with an aggregate deal value of more than $4

11    billion. I hold an M.S. from Stanford University, and I obtained my M.B.A. from the University

12    of Minnesota, Carlson School of Management, with Distinction.

13            3.      C-H was retained by the Debtors to serve as their financial advisor in connection

14    with their chapter 11 bankruptcy cases. I have served as the lead professional at C-H providing

15    services on this engagement.

16            4.      C-H worked with the Debtors during the three-month period leading up to the

17    Debtors’ chapter 11 bankruptcy filings, and C-H has done extensive due diligence with the

18    Debtors’ management team and board of directors.

19            5.      C-H very actively worked with all potentially interested overbidders in an effort to

20    help maximize the chances of there being a competitive auction in these cases with the goal of

21    maximizing the purchase price paid for the Debtors’ assets for the benefit of the Debtors’

22    creditors and shareholders.

23            6.      C-H was employed by the Debtors as financial advisor pursuant to 11 U.S.C. § 327

24    with compensation pursuant to 11 U.S.C. § 328. C-H was not required to maintain time records

25    in connection with the services it provided to the Debtors. C-H was authorized to be paid its fees

26    on an interim basis at the closing of the sale of the Debtors’ assets but is required to file a final fee

27    application in these cases.

28

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 1           7.      C-H worked around the clock during an intensive, complex, and challenging sale

 2    process, during which time C-H handled not only the requests of potential buyers, but also the

 3    requests of the Debtors, the Official Committee of Equity Holders and the Official Committee of

 4    Unsecured Creditors appointed in these cases, and their respective professionals. C-H worked

 5    with the Debtors in the three-month period leading up to the Debtors’ bankruptcy filings, and C-H

 6    conducted extensive due diligence with the Debtors’ management team and boards of directors.

 7           8.      C-H provided services to the Debtors related to all of these categories of tasks,

 8    and provided substantial assistance to the Debtors in connection with the Debtors’ marketing and

 9    sale process, fostering a competitive bidding environment, assisting the Debtors with a

10    successful auction process that led to the successful closing of a sale of the Debtors’ assets for
11    the purchase price of $25,250,000.
12           9.      C-H has not been paid any money by the Debtors at any time. As set forth in C-
13    H’s Court-approved employment application, C-H’s compensation for the services provided to
14    the Debtors is $275,000 plus 2.5% of the “Aggregate Transaction Value” in excess of $20
15    million up to $22.5 million, plus 4.5% of the Aggregate Transaction Value in excess of $22.5
16    million. “Aggregate Transaction Value” means in relevant part “the total consideration paid and
17    to be paid (which shall be deemed to include amounts paid or to be paid into escrow) directly or
18    indirectly, regardless of how allocated or the form of consideration the amount of any exit
19    financing raised in connection with any Sale or Restructuring), to the Company or to its security

20    holders or other creditors in connection with the Sale or Restructuring, including, without

21    limitation: (i) cash….”
22           10.     In addition to any fees payable to C-H, the Debtors agreed to reimburse C-H for
23    its out-of pocket expenses incurred in connection with this engagement, including database
24    communication and travel expenses and the fees and expenses of C-H’s legal counsel.
25           11.     Based on the Aggregate Transaction Value of $25,250,000, C-H is entitled to the
26    following fee: $275,000 + $62,500 (2.5% of the Aggregate Transaction Value in excess of $20
27    million up to $22.5 million) + $123.750 (4.5% of the Aggregate transaction Value in excess of
28    $22.5 million) = $461,250.00.

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 1           12.     Additionally, C-H incurred expenses in the amount of $22,508.08 in connection

 2    with the services it provided to the Debtors.

 3           13.     Accordingly, C-H is requesting final approval of fees in the amount of

 4    $461,250.00 and expenses in the amount of $23,189.08, for total fees and expenses of

 5    $484,439.08.    That total amount represents less than 2% of the total purchase price of

 6    $25,250,000. Attached hereto as Exhibit 1 is C-H’s invoice.

 7           14.     In connection with the Debtors’ bankruptcy cases, C-H performed, among other

 8    tasks, the following tasks for the Debtors:

 9                   a.      C-H identified acquirers, which in the opinion of C-H and the Debtors,

10                   were the most likely to acquire the Company;
11                   b.      C-H assisted the Debtors in formulating a strategy for soliciting interest
12                   from acquirers, whether approached by C-H or whether the Debtors was
13                   approached proactively;
14                   c.      C-H developed procedures and timetables for marketing the Debtors to
15                   potential acquirers;
16                   d.      C-H assisted in the preparation of management’s marketing materials
17                   describing the Debtors, including a teaser, management presentation, update
18                   presentation delivered at the National Safety Conference, and financial models
19                   including management’s projections;

20                   e.      C-H contacted more than fifty potential acquirers and introduced the

21                   Debtors;
22                   f.      C-H assisted the Debtors in negotiating and signing Non-Disclosure
23                   Agreement’s with more than twenty potential acquirers;
24                   g.      C-H established and managed a very comprehensive data room, and C-H
25                   continuously updated the data room with all additional relevant information as
26                   events unfolded in these cases;
27

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                                                       13
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 1               h.     C-H and its team made themselves extremely available to prospective

 2               overbidders, including assisting the Debtors with providing comprehensive

 3               management presentations about the Debtors’ business and the overbid process;

 4               i.     C-H coordinated due diligence investigations of the Debtors by potential

 5               acquirers;

 6               j.     C-H coordinated meetings and arranged for meeting space in Indianapolis

 7               for presentations to potential acquirers that were attending the National Safety

 8               Conference;

 9               k.     C-H solicited acquisition proposals from interested potential acquirers;

10               l.     C-H vetted potential bidders’ financial qualifications, qualified two
11               overbidders, and provided the Debtors and management with advice and
12               information in connection with potential and actual bidders;
13               m.     C-H served as a source of updates and information to both Committees
14               appointed in these cases and their professionals during the sale process, including
15               by providing to both Committees periodic and detailed, written sale updates,
16               engaging in numerous conversations with Committee professionals, and providing
17               to Committee professionals requested information during the sale process;
18               n.     C-H traveled to and participated in the bankruptcy court proceedings,
19               including providing declarations in connection with bidding procedures and the

20               proposed sale, and testimony in connection with bidding procedures;

21               o.     C-H delivered a copy of the bidding procedures order along with a
22               template asset purchase agreement prepared by the Debtors’ bankruptcy counsel
23               to all potentially interested overbidders, and C-H continuously assisted all
24               potentially interested overbidders with their due diligence efforts;
25               p.     C-H actively assisted the Debtors during the auction proceedings held in
26               the bankruptcy court, including in connection with analyzing bids and negotiating
27               with bidders; and
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Craig-Hallum Expense Invoice




Expense Invoice for: Ironclad Performance Wear


November 21, 2017


Attention: Geoff Greulich | CEO


Craig-Hallum Capital Group LLC is invoicing Ironclad Performance Wear Corporation for its advisory services
and expenses in the amount outlined below. We have included mailing and wire instructions.



                 Sale or Restructuring Fee                         $             461,250.00
                 Expenses and Database                             $              23,189.08

                 Total                                             $             484,439.08




  Investment Banking Department

  The wiring instructions for payment of the fees and expenses are as follows:

  ABA Number:                     091300159
  Bank Name:                      Alerus Financial
  City, State:                    Minneapolis, Minnesota
  FBO Account Number:             2018638
  FBO Account Name:               Craig-Hallum Capital Group LLC


  If mailing a check, make it payable to Craig Hallum Capital Group LLC and send to the address below:

  Craig-Hallum Capital Group LLC
  Attention: Jeannie Sonstegard, Chief Financial Officer
  222 South Ninth Street
  Suite 350
  Minneapolis, MN 55402
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Craig‐Hallum Expense Reimbursement

Date         Category                               Vendor                                                 Employee                          Amount                             Category                                  Sum of Amount
9/6/2017     Communication:Cell phone               Verizon Wireless                                       steve.rickman@craig‐hallum.com    $    134.99                        Communication:Cell phone                          134.99
8/21/2017    Communication:Internet                 Http://www.gogoair.com                                 steve.rickman@craig‐hallum.com    $      44.95                       Communication:Internet                             89.90
7/21/2017    Communication:Internet                 Http://www.gogoair.com                                 steve.rickman@craig‐hallum.com    $      44.95                       Other:Conference/Education                        150.00
9/27/2017    Other:Conference/Education             NSC Expo                                               scott.ames@craig‐hallum.com       $    150.00                        Other:Professional Fees:Legal Fees                 35.00
10/30/2017   Other:Professional Fees:Legal Fees     Courtcall Llc                                          amexadmin@craig‐hallum.com        $      35.00                       Other:Travel & Ent:Air/Rail                    7,783.70
9/18/2017    Other:Travel & Ent:Air/Rail            Delta Air Lines (Ames)                                 amexadmin@craig‐hallum.com        $    716.40                        Other:Travel & Ent:Auto/Taxi/Parking              865.07
9/18/2017    Other:Travel & Ent:Air/Rail            Delta Air Lines (Rickman)                              amexadmin@craig‐hallum.com        $ 1,477.00                         Other:Travel & Ent:Lodging                     2,388.49
10/17/2017   Other:Travel & Ent:Air/Rail            Delta Air Lines (Rickman)                              amexadmin@craig‐hallum.com        $    490.40                        Other:Travel & Ent:Meals                          360.93
10/17/2017   Other:Travel & Ent:Air/Rail            Delta Air Lines (Ames)                                 amexadmin@craig‐hallum.com        $    490.40                        Out of Pocket Total                           11,808.08
10/16/2017   Other:Travel & Ent:Air/Rail            Delta Air Lines (Rickman)                              amexadmin@craig‐hallum.com        $    544.40
9/28/2017    Other:Travel & Ent:Air/Rail            Delta Air Lines ‐ Atlanta                              steve.rickman@craig‐hallum.com    $      75.00
8/10/2017    Other:Travel & Ent:Air/Rail            Delta Air Lines (Rickman)                              amexadmin@craig‐hallum.com        $    978.50                        Faegre Baker Daniels LLC Legal Services        7,977.00 See attached detail
7/31/2017    Other:Travel & Ent:Air/Rail            Delta Air Lines (Rickman)                              amexadmin@craig‐hallum.com        $    624.40                        Database                                       3,404.00 See attached detail
7/19/2017    Other:Travel & Ent:Air/Rail            Delta Air Lines (Mazorol)                              amexadmin@craig‐hallum.com        $    272.00
7/12/2017    Other:Travel & Ent:Air/Rail            Delta Air Lines (Rickman)                              amexadmin@craig‐hallum.com        $    614.40                        Grand Total                                   23,189.08
7/12/2017    Other:Travel & Ent:Air/Rail            Delta Air Lines (mazorol)                              amexadmin@craig‐hallum.com        $    614.40
7/19/2017    Other:Travel & Ent:Air/Rail            Delta Air Lines (Oak)                                  amexadmin@craig‐hallum.com        $    272.00
7/12/2017    Other:Travel & Ent:Air/Rail            Delta Air Lines (Oak)                                  amexadmin@craig‐hallum.com        $    614.40
10/31/2017   Other:Travel & Ent:Auto/Taxi/Parking   Parking                                                scott.ames@craig‐hallum.com       $      60.00
10/29/2017   Other:Travel & Ent:Auto/Taxi/Parking   Uber                                                   scott.ames@craig‐hallum.com       $      51.95
10/29/2017   Other:Travel & Ent:Auto/Taxi/Parking   Uber                                                   scott.ames@craig‐hallum.com       $       5.00
10/31/2017   Other:Travel & Ent:Auto/Taxi/Parking   Msp Airport Parking Minn900096 Minn ‐ Saint Paul, Mn   steve.rickman@craig‐hallum.com    $      60.00
10/30/2017   Other:Travel & Ent:Auto/Taxi/Parking   Uber *us Oct30 2bnbp ‐ Help.uber.com, Ca               steve.rickman@craig‐hallum.com    $      23.81
9/27/2017    Other:Travel & Ent:Auto/Taxi/Parking   Uber                                                   scott.ames@craig‐hallum.com       $      17.01
9/27/2017    Other:Travel & Ent:Auto/Taxi/Parking   Parking                                                scott.ames@craig‐hallum.com       $      60.00
9/25/2017    Other:Travel & Ent:Auto/Taxi/Parking   Uber                                                   scott.ames@craig‐hallum.com       $      20.90
9/27/2017    Other:Travel & Ent:Auto/Taxi/Parking   Avis Rent‐a‐car 1                                      steve.rickman@craig‐hallum.com    $       8.76
9/27/2017    Other:Travel & Ent:Auto/Taxi/Parking   Msp Airport Parking Minn900096 Minn ‐ Saint Paul, Mn   steve.rickman@craig‐hallum.com    $      72.00
9/27/2017    Other:Travel & Ent:Auto/Taxi/Parking   Uber *us Sep27 Sdgdb ‐ Help.uber.com, Ca               steve.rickman@craig‐hallum.com    $      17.57
9/26/2017    Other:Travel & Ent:Auto/Taxi/Parking   Uber Us Sep25 T57hs He                                 steve.rickman@craig‐hallum.com    $      34.01
9/26/2017    Other:Travel & Ent:Auto/Taxi/Parking   Uber *us Sep26 Egww6 ‐ Help.uber.com, Ca               steve.rickman@craig‐hallum.com    $      12.15
9/24/2017    Other:Travel & Ent:Auto/Taxi/Parking   Lyft                                                   steve.rickman@craig‐hallum.com    $      88.16
8/11/2017    Other:Travel & Ent:Auto/Taxi/Parking   Msp Airport Parking                                    steve.rickman@craig‐hallum.com    $      24.00
7/19/2017    Other:Travel & Ent:Auto/Taxi/Parking   Park msp                                               allen.mazorol@craig‐hallum.com    $      26.00
8/4/2017     Other:Travel & Ent:Auto/Taxi/Parking   Dfw Airport Parking                                    steve.rickman@craig‐hallum.com    $       2.00
8/4/2017     Other:Travel & Ent:Auto/Taxi/Parking   Avis Rent‐a‐car 1                                      steve.rickman@craig‐hallum.com    $    136.97
8/4/2017     Other:Travel & Ent:Auto/Taxi/Parking   Msp Airport Parking                                    steve.rickman@craig‐hallum.com    $      72.00
8/4/2017     Other:Travel & Ent:Auto/Taxi/Parking   Omni Dallas Parkwest                                    steve.rickman@craig‐hallum.com   $      14.00
7/19/2017    Other:Travel & Ent:Auto/Taxi/Parking   Taxi Svc Dallas                                         steve.rickman@craig‐hallum.com   $      34.78
7/19/2017    Other:Travel & Ent:Auto/Taxi/Parking   Msp Airport Parking                                     steve.rickman@craig‐hallum.com   $      24.00
10/31/2017   Other:Travel & Ent:Lodging             Westin Hotels & Resorts                                 scott.ames@craig‐hallum.com      $     215.54
10/30/2017   Other:Travel & Ent:Lodging             Marriott                                                scott.ames@craig‐hallum.com      $     218.58
11/1/2017    Other:Travel & Ent:Lodging             Westin Los Angeles Arprt Westin Los An ‐ Los Angeles, Casteve.rickman@craig‐hallum.com   $     215.54
10/31/2017   Other:Travel & Ent:Lodging             Warner Center Marriott Woodland Hills ‐ Woodland Hillssteve.rickman@craig‐hallum.com     $     218.58
9/25/2017    Other:Travel & Ent:Lodging             The Westin Indianapolis                                 scott.ames@craig‐hallum.com      $     556.00
9/27/2017    Other:Travel & Ent:Lodging             Hoteltonightthe Westi                                   steve.rickman@craig‐hallum.com   $     311.00
9/26/2017    Other:Travel & Ent:Lodging             Marriott Warner Center                                  steve.rickman@craig‐hallum.com   $     267.65
8/4/2017     Other:Travel & Ent:Lodging             Omni Dallas Parkwest                                    steve.rickman@craig‐hallum.com   $     385.60
10/31/2017   Other:Travel & Ent:Meals               Marriott Warner Center ‐ Woodland Hills, Ca             steve.rickman@craig‐hallum.com   $      91.48 Geoff Greulich (CEO), Turner Vonalman (Financial Analyst), Scott Ames
8/3/2017     Other:Travel & Ent:Meals               Hunters                                                 steve.rickman@craig‐hallum.com   $      27.36 Vane Clayton (Ironclad Chairman); Mike Tutor (Radians), Steve Rickman
10/31/2017   Other:Travel & Ent:Meals‐Exempt        Westin Lax Dining                                       scott.ames@craig‐hallum.com      $      14.32
10/31/2017   Other:Travel & Ent:Meals‐Exempt        Starbucks                                               scott.ames@craig‐hallum.com      $      10.51
10/30/2017   Other:Travel & Ent:Meals‐Exempt        Warner Center Marriott                                  scott.ames@craig‐hallum.com      $       3.90
10/30/2017   Other:Travel & Ent:Meals‐Exempt        Daily Grill                                             scott.ames@craig‐hallum.com      $      16.07
10/29/2017   Other:Travel & Ent:Meals‐Exempt        Pod 5 World Bean                                        scott.ames@craig‐hallum.com      $       6.21
10/28/2017   Other:Travel & Ent:Meals‐Exempt        Whole Foods Market                                      scott.ames@craig‐hallum.com      $      17.00
10/25/2017   Other:Travel & Ent:Meals‐Exempt        Chipotle Mexican Grill                                  scott.ames@craig‐hallum.com      $      15.21
10/30/2017   Other:Travel & Ent:Meals‐Exempt        Cibo Express P4 ‐ Minneapolis, Mn                       steve.rickman@craig‐hallum.com   $      17.00
10/29/2017   Other:Travel & Ent:Meals‐Exempt        P.F. Chang's China Bistro                               steve.rickman@craig‐hallum.com   $      41.67 Steve and Scott
9/27/2017    Other:Travel & Ent:Meals‐Exempt        Delta                                                   scott.ames@craig‐hallum.com      $      29.00
9/25/2017    Other:Travel & Ent:Meals‐Exempt        Minneapolis Airport Saint Paul                          scott.ames@craig‐hallum.com      $       2.49
9/20/2017    Other:Travel & Ent:Meals‐Exempt        Pieology                                                scott.ames@craig‐hallum.com      $      11.25
9/18/2017    Other:Travel & Ent:Meals‐Exempt        Pieology                                                scott.ames@craig‐hallum.com      $      11.25
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9/27/2017   Other:Travel & Ent:Meals‐Exempt   Travel Traders              steve.rickman@craig‐hallum.com   $    7.97
9/26/2017   Other:Travel & Ent:Meals‐Exempt   Wyndham Hotel               steve.rickman@craig‐hallum.com   $   20.83
9/25/2017   Other:Travel & Ent:Meals‐Exempt   Lax Angel City Brewery      steve.rickman@craig‐hallum.com   $   11.81
9/25/2017   Other:Travel & Ent:Meals‐Exempt   Lax Blue Window             steve.rickman@craig‐hallum.com   $   14.72
9/25/2017   Other:Travel & Ent:Meals‐Exempt   Cibo Express P4             steve.rickman@craig‐hallum.com   $   17.00
9/25/2017   Other:Travel & Ent:Meals‐Exempt   Food Hall P1                steve.rickman@craig‐hallum.com   $   11.72
8/12/2017   Other:Travel & Ent:Meals‐Exempt   Otg Management Midwest      steve.rickman@craig‐hallum.com   $   17.00
8/11/2017   Other:Travel & Ent:Meals‐Exempt   Memphis 0205a               steve.rickman@craig‐hallum.com   $    6.94
8/4/2017    Other:Travel & Ent:Meals‐Exempt   Tgi_fridays #0851           steve.rickman@craig‐hallum.com   $   21.83
8/2/2017    Other:Travel & Ent:Meals‐Exempt   Minneapolis Airport         steve.rickman@craig‐hallum.com   $   10.76
8/2/2017    Other:Travel & Ent:Meals‐Exempt   Wok And Roll                steve.rickman@craig‐hallum.com   $   16.60
7/19/2017   Other:Travel & Ent:Meals‐Exempt   7‐eleven 39782              steve.rickman@craig‐hallum.com   $    7.87
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                           EXHIBIT “3”
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Craig-Hallum Overview
SEPTEMBER 2017
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                                                                                                                                                        CRAIG-HALLUM OVERVIEW



Leading Investment Bank Focused On Growth Companies
 CRAIG-HALLUM IS AN INSTITUTIONAL INVESTMENT
                                                                                                                                OUR MISSION IS SIMPLE:
  BANK FOCUSED SOLELY ON GROWTH COMPANIES

      100+ employee-owned partnership                                                                            Build lasting and impactful relationships with our
                                                                                                                   investment banking clients
      Headquartered in Minneapolis with offices in Boston,
       Greenwich, and Philadelphia                                                                                Provide our institutional investor clients with compelling
                                                                                                                   stock ideas that can drive their performance
      Operating history of more than 18 years

      From 2013 through 2016, Craig-Hallum was the #1 ranked
       investment bank for the most follow-on equity offerings
       for market caps less than $500 million (excluding biotech
       and financials)(1)




             INVESTMENT BANKING                                                   INSTITUTIONAL RESEARCH                             INSTITUTIONAL SALES & TRADING

  37 investment banking transactions                                      36 equity research professionals                         35-member core sales & trading team
   completed in 2016
                                                                           275 public companies under coverage                      U.S. and Canadian coverage of 600+
  Over 160 equity offerings completed since                                                                                          institutional accounts
                                                                           Cover all major growth sectors: business
   January 1, 2013
                                                                            services, clean technology, consumer,                    Deep client relationships with senior
  Manager for more than $8.7 billion of                                    healthcare, industrial growth, technology, and            portfolio managers
   offerings since January 1, 2013                                          telecommunications

                                                                           Sector knowledge and concentrated
  Experienced M&A advisory team
                                                                            experience


Source: S&P Capital IQ
(1) Includes offerings greater than or equal to $5 million for companies listed on major U.S. exchanges
                                                                                                          2
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                                                                                                                                             CRAIG-HALLUM OVERVIEW



How The Craig-Hallum Model Is Different
   Craig-Hallum is a true research-driven boutique                                                                    CRAIG-HALLUM PROFESSIONALS

               34% of our employees are in our research department, which is larger than any of our
                banking, sales, or trading departments

               Senior research analysts each cover, on average, 16 stocks, allowing for in-depth coverage                                          Research
                of each stock                                                                                                                      Department
                                                                                                                                                      (36)
                                                                                                                            Banking
               Our model translates to both higher quality results and greater impact for our                             Department
                institutional and corporate clients                                                                           (25)

   Big enough to matter – small enough to make a difference
                                                                                                                                                          Sales
                                                                                                                           Operations                   Department
               275 stocks in our coverage universe, not over 500 like many investment banks                                 (13)                          (25)
                                                                                                                                        Trading
               More time for each stock during every morning meeting, ensuring deep sales knowledge                                     (10)
                – not just when the company reports quarterly results

               History of exceptionally strong relationships with leading growth stock portfolio
                managers across the country
                                                                                                                           CRAIG-HALLUM LOCATIONS
               Focused trading – we make markets in stocks that we cover

               Top underwriter for small cap growth stocks(1), having completed over 160 equity
                offerings since the start of 2013, raising over $8.5 billion                                                              Minneapolis
                                                                                                                                                                        Boston
                                                                                                                                                                  Greenwich

   We are one of the few remaining partnerships                                                                                                               Philadelphia

                                                                                                                   San Francisco

               Craig-Hallum is 100% owned by its employees – no outside capital

               Performance-oriented culture attracts high performers

               We care because it is ours

Source: S&P Capital IQ
(1) Includes offerings greater than or equal to $5 million for U.S. companies listed on major U.S.
    exchanges under $500MM market capitalization
                                                                                                     3
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                                                                                          CRAIG-HALLUM OVERVIEW



Proven M&A Process Expertise
    COMBINED YEARS EXPERIENCE                                      OVER 100


   # OF TRANSACTIONS COMPLETED                                     OVER 200

      CUMULATIVE ENTERPRISE
                                                               OVER $15 BILLION
         VALUE CREATED

                                               ALL RANGING FROM ENTREPRENEURS AND FAMILIES
     SELLER TYPES REPRESENTED
                                                    TO PRIVATE EQUITY AND CORPORATIONS

      BUYER TYPES APPROACHED                   ALL RANGING FROM ENTREPRENEURS AND FAMILIES
           AND SOLD TO                              TO PRIVATE EQUITY AND CORPORATIONS

  INDUSTRY SEGMENTS REPRESENTED            VIRTUALLY ALL FROM NICHE MARKETS TO MAJOR INDUSTRIES

                                             EVERY CONCEIVABLE PERMUTATION FROM UNILATERAL
   TRANSACTION PROCESS TYPES RUN
                                                NEGOTIATIONS TO BROAD AUCTION PROCESSES

                                           NORTH AMERICA WITH SIGNIFICANT EXPERIENCE INVOLVING
         GEOGRAPHIC FOCUS
                                                   INTERNATIONAL BUYERS AND SELLERS

                                            FOCUS ON ENTERPRISE VALUES UNDER $150 MILLION WITH
             DEAL SIZE
                                                SIGNIFICANT EXPERIENCE UP TO ~$750 MILLION



     THE M&A GROUP FOCUSES 100% ON M&A ADVISORY AND OUR COMBINED YEARS OF EXPERIENCE
      AND NUMBER OF COMPLETED TRANSACTIONS MAKE US EXPERTS IN OUR CRAFT, REGARDLESS
                   OF TRANSACTION TYPE, SIZE, INDUSTRY, SELLER OR BUYER




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                                                                                                                           CRAIG-HALLUM OVERVIEW



Demonstrated M&A Experience
   Since 2013, Craig-Hallum has completed over 40 M&A advisory, corporate divestiture, and fairness opinion assignments
    for public and private companies
                                                               RECENT M&A TRANSACTIONS




                                                                                               A PORTFOLIO COMPANY OF
                                                                      A PORTFOLIO COMPANY OF
     HAS BEEN ACQUIRED BY            A PORTFOLIO COMPANY OF
                                                                                                                                A PORTFOLIO COMPANY OF


                                                                       HAS BEEN ACQUIRED BY     HAS BEEN ACQUIRED BY
                                       HAS BEEN ACQUIRED BY


                                                                                                                                HAS BEEN RECAPITALIZED
       June 12, 2017                    March 10, 2017                    July 6, 2016            June 23, 2016                    April 29, 2016


      CERTAIN ASSETS OF

                                                                                                                                 HAS BEEN ACQUIRED BY
                                                                       HAS BEEN ACQUIRED BY
                                     A PORTFOLIO COMPANY OF                                    HAS ACQUIRED A BUSINESS
    HAVE BEEN ACQUIRED BY                                                                             UNIT OF
                                                                                                                            A PORTFOLIO COMPANY OF
                                      HAS BEEN ACQUIRED BY            A PORTFOLIO COMPANY OF




        April 5, 2016                   March 14, 2016                  January 4, 2016        December 22, 2015                December 12, 2015



                                     A PORTFOLIO COMPANY OF
                                                                      A PORTFOLIO COMPANY OF
    HAS BEEN ACQUIRED BY
                                                                                                                                A PORTFOLIO COMPANY OF
                                     HAS BEEN ACQUIRED BY              HAS BEEN ACQUIRED BY    HAS BEEN ACQUIRED BY
                                                                                                                                HAS BEEN ACQUIRED BY
    A PORTFOLIO COMPANY OF           A PORTFOLIO COMPANY OF
                                                                      A PORTFOLIO COMPANY OF


     December 4, 2015                 December 1, 2015                November 13, 2015         October 21, 2015                  August 31, 2015


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                                                                                                                             CRAIG-HALLUM OVERVIEW



Why Craig-Hallum?
     Middle market focus
                Craig-Hallum has completed numerous transactions with sub-$500 million market capitalization companies for years

                Focused on M&A transactions less than $150 million in enterprise value


     The Craig-Hallum team knows the Ironclad story
                We have been working with the Company for over three months

                We have done our homework – extensive due diligence with the management team and Board of Directors


     We already has dialogue with many potential strategic buyers for the Company
                Several buyers have expressed an interest purchasing the Company in bankruptcy

                                   ACTIVE DIALOGUE                                                 OTHER CONTACTED BUYERS (1)




                                                                              6
    (1) Not all contacted buyers are shown
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Industrial Technology Experience

                                                                           A PORTFOLIO
                                                                           COMPANY OF
     A PORTFOLIO                        A PORTFOLIO                                                   Engineered Products Co.                                                          A PORTFOLIO
     COMPANY OF                         COMPANY OF                                                                                                                                     COMPANY OF
                                                                                                          A PORTFOLIO               HAS BEEN ACQUIRED BY
                                                                     HAS BEEN ACQUIRED BY                                                                  HAS BEEN ACQUIRED BY
                                                                                                          COMPANY OF

HAS BEEN ACQUIRED BY               HAS BEEN ACQUIRED BY                    A PORTFOLIO                HAS BEEN ACQUIRED BY                                                         HAS BEEN ACQUIRED BY
                                                                           COMPANY OF




                                                                                                                                                      *                        *                      *


                                                                           A PORTFOLIO
     A PORTFOLIO                        HAS DIVESTED                                                                                    A PORTFOLIO             HAS SOLD
                                                                           COMPANY OF                     A PORTFOLIO
     COMPANY OF                                                                                                                         COMPANY OF
                                                                                                          COMPANY OF
                                                                                                                                                                                   HAS BEEN ACQUIRED BY

                                              TO                     HAS BEEN ACQUIRED BY
HAS BEEN ACQUIRED BY                                                                                  HAS BEEN ACQUIRED BY          HAS BEEN ACQUIRED BY           TO




                         *                                  *                                     *                             *                     *                        *                      *



                                   Air Conditioning Division                                                                                                    HAS SOLD
                                                                                                                                                                                   HAS BEEN ACQUIRED BY
                                                                     HAS BEEN ACQUIRED BY             HAS BEEN ACQUIRED BY          HAS BEEN ACQUIRED BY              AND
HAS BEEN ACQUIRED BY              HAS BEEN ACQUIRED BY
                                                                                                                                                                   TO




                         *                                  *                                     *                             *                     *                        *                      *



                                                                                                             Extrusion
                                                                                                                                                                                   HAS BEEN ACQUIRED BY
HAS BEEN ACQUIRED BY              HAS BEEN ACQUIRED BY               HAS BEEN ACQUIRED BY             HAS BEEN ACQUIRED BY          HAS BEEN ACQUIRED BY
                                                                                                                                                           HAS BEEN ACQUIRED BY




* Transaction completed with the involvement of a Craig-Hallum professional while at prior firm
                                                                                                                7
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Branded and Consumer Products Experience
                                                                                                                                                                  *                                 *


                                                      A PORTFOLIO COMPANY OF                                                                                                       HAS SOLD
       HAS BEEN ACQUIRED BY                                                                               HAS ACQUIRED                   A PORTFOLIO COMPANY OF

                                                                                                                                                                                     TO
                                                       HAS BEEN ACQUIRED BY
     A PORTFOLIO COMPANY OF                           A PORTFOLIO COMPANY OF                                                              HAS BEEN ACQUIRED BY           A PORTFOLIO COMPANY OF




                                      *                                               *                                              *                            *                                 *



                                                      A PORTFOLIO COMPANY OF                       A PORTFOLIO COMPANY OF
     A PORTFOLIO COMPANY OF                                                                                                                                                       HAS SOLD
                                                                                                                                          HAS BEEN ACQUIRED BY

                                                                                                                                                                                     TO
       HAS BEEN ACQUIRED BY                            HAS BEEN ACQUIRED BY                         HAS BEEN ACQUIRED BY




                                      *                                               *                                              *                            *                                 *

          TagWorks, LLC
     A PORTFOLIO COMPANY OF                                                                        A PORTFOLIO COMPANY OF                A PORTFOLIO COMPANY OF
                                                          HAS RECEIVED AN
                                                      EQUITY INVESTMENT FROM                                                                                                 HAS BEEN ACQUIRED BY
       HAS BEEN ACQUIRED BY                                                                                                               HAS BEEN ACQUIRED BY
                                                                                                    HAS BEEN ACQUIRED BY




                                      *                                               *                                              *                            *                                 *



     A PORTFOLIO COMPANY OF                                                                        Certain Assets of Kodak Gallery              HAS SOLD
                                                       HAS BEEN ACQUIRED BY                                                                                                  HAS BEEN ACQUIRED BY
                                                                                                   HAVE BEEN ACQUIRED BY

                                                                                                                                                  TO
       HAS BEEN ACQUIRED BY




 * Transaction completed with the involvement of a Craig-Hallum professional while at prior firm

                                                                                                                 8
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Craig-Hallum Coverage Universe
     Craig-Hallum covers 275 companies across multiple growth sectors including technology, healthcare, consumer, industrial
      growth, and business services
                                      TECHNOLOGY                                                                                                                        LIFE SCIENCES/HEALTHCARE
Semi. & Components              Communications & Equip.     Software                        eCommerce                       Diagnostics                   Med. Equip & Devices        Healthcare IT & Svcs.           Spec. Pharma & Biologics
- Advanced Micro (AMD)          - 8x8 (EGHT)                - Accelerize (ACLZ)             - Chegg (CHGG)                  - Alere (ALR)                 - AngioDynamics (ANGO)      - Acadia Healthcare (ACHC)      - Aceto Corp (ACET)
- Ambarella (AMBA)              - Boingo Wireless (WIFI)    - Actua (ACTA)                  - GrubHub (GRUB)*               - Caredx Inc (CDNA)           - Apollo Endosurgery (APEN) - Advisory Board (ABCO)         - Akorn (AKRX)
- Applied Opto (AAOI)           - Brocade Comm. (BRCD)      - ARI Network Services (ARIS)   - Leaf Group (LFGR)             - Chembio (CEMI)              - Bovie Medical (BVX)       - Amedisys (AMED)               - Alliqua (ALQA)
- Broadcom (AVGO)               - CalAmp (CAMP)             - Attunity (ATTU)               - PetMed Express (PETS)         - Enzo Bio. (ENZ)             - CAS Medical (CASM)        - Auxilio (AUXO)                - Cambrex (CBM)
- ChipMOS (IMOS)                - Calix (CALX)              - Blucora (BCOR)                - PFSWeb (PFSW)                 - Exact Sciences (EXAS)       - Dextera Surgical (DXTR)   - BioScrip (BIOS)               - Codexis (CDXS)
- Cypress (CY)                  - DASAN Zhone (DZSI)        - Callidus (CALD)               - Quotient Technology (QUOT)*   - Laboratory Corp. (LH)       - Henry Schein (HSIC)       - eHealth (EHTH)                - Lannett (LCI)
- Cirrus Logic (CRUS)           - Extreme Networks (EXTR)   - Carbonite (CARB)              - Stamps.com (STMP)             - Neogen (NEOG)               - iCAD (ICAD)               - Haemonetics (HAE)             - Ligand (LGND)
- eMagin (EMAN)                 - Flextronics (FLEX)        - Cyren (CYRN)                  Financial Technology            - Neogenomics (NEO)           - Integer Holdings (ITGR)   - Health Insur. Innov. (HIIQ)   - MiMedx (MDXG)
- Everspin (MRAM)               - Finisar (FNSR)            - Digimarc (DMRC)               - ACI (ACIW)                    - Quest Diagnostics (DGX)     - Invuity (IVTY)            - HealthSouth (HLS)             - Repligen (RGEN)
- II-VI Incorporated (IIVI)     - Fusion Telecom (FSNN)     - Datawach (DWCH)               - BofI (BOFI)                                                 - LeMaitre (LMAT)           - Healthstream (HSTM)           - Rockwell Medical (RMTI)
- Immersion (IMMR)              - Global Telecom (GTT)      - Ebix (EBIX)                   - Blackhawk Network (HAWK)                                    - Merit Medical (MMSI)      - LHC Group (LHCG)              - RTI Biologics (RTIX)
- Inphi (IPHI)                  - Infinera (INFN)           - eGain (EGAN)                  - Bottomline (EPAY)                                           - Novadaq (NVDQ)            - Omnicell (OMCL)               - SenesTech (SNES)
- Integrated Device (IDTI)      - Internap Network (INAP)   - Five9 (FIVN)                  - CPI Card Group (PMTS)                                       - NVE Corp. (NVEC)          - Sharps Compliance (SMED)      - Techne (TECH)
- Knowles (KN)                  - Lumentum (LITE)           - Hortonworks (HDP)             - Everi Holdings (EVRI)                                       - NxStage Medical (NXTM) - Streamline Health (STRM)         - Teligent (TLGT)
- Lattice Semi. (LSCC)          - Nokia Corporation (NOK)   - ImageWare (IWSY)              - First Data (FDC)                                            - Patterson (PDCO)          - Teladoc (TDOC)                - Zoetis (ZTS)
- Marvel (MRVL)                 - ORBCOMM (ORBC)            - Iteris (ITI)                  - LendingClub (LC)                                            - Spectranetics (SPNC)      - The Joint Corp. (JYNT)
- M/A-Com Technology (MTSI)     - ShoreTel (SHOR)           - LivePerson (LPSN)             - PayPal Holdings (PYPL)                                      - Viveve Medical (VIVE)     - Vocera Comm. (VCRA)
- Neonode (NEON)                - Trimble (TRMB)            - Mattersight (MATR)            - Planet Payment (PLPM)
- NeoPhotonics (NPTN)           - Viavi (VIAV)              - MINDBODY (MB)*                - Q2 Holdings (QTWO)
- Netlist (NLST)                - Vonage (VG)               - Model N (MODN)                - RE/MAX (RMAX)                                                   INDUSTRIAL GROWTH AND SUSTAINABILITY
- Oclaro (OCLR)                 Services                    - NetScout (NTCT)               - Square (SQ)                   Automobile & Machinery        Infrastructure            Sustainability                    Industrial
- Pixelworks (PXLW)             - Dycom (DY)                - Nuance (NUAN)                 - Vantiv (VNTV)                 - Asbury Automotive (ABG)     - Aegion (AEGN)           - Chart Industries (GTLS)         - Allied Motion (AMOT)
- Qorvo (QRVO)                  - InnerWorkings (INWK)      - Paylocity (PCTY)              - VeriFone (PAY)                - Blue Bird (BLBD)            - Apogee (APOG)           - Clean Energy (CLNE)             - American Outdoor (AOBC)
- QuickLogic (QUIK)             - Digital Turbine (APPS)    - PROS Holdings (PRO)                                           - Carvana Co. (CVNA)          - Aspen Aerogels (ASPN)   - Daqo New Energy (DQ)*           - Axon (AAXN)
- Sanmina-SCI (SANM)            - MasTec (MTZ)              - Qumu Corp (QUMU)                                              - Daseke (DSKE)               - Capstone Turbine (CPST) - Enphase (ENPH)                  - Civeo Corp. (CVEO)
- Silicon Motion (SIMO)         - SharpSpring (SHSP)        - RingCentral (RNG)                                             - Douglas Dynamics (PLOW)     - Limbach (LMB)           - EnSync (ESNC)                   - CUI Global (CUI)
- Sigma Designs (SIGM)          - TeleTech (TTEC)           - SPS Commerce (SPSC)                                           - Ford Motor (F)              - LiqTech (LIQT)          - FuelCell Energy (FCEL)          - FARO Technologies (FARO)
- STMicro (STM)                 - USA Technologies (USAT)   - Synacor (SYNC)                                                - General Motors (GM)         - Vertex Energy (VTNR)    - Hudson Tech. (HDSN)             - Gentex (GNTX)
- Skyworks (SWKS)               Storage & Hardware          - Upland Software (UPLD)                                        - Gentherm (THRM)                                       - Ideal Power (IPWR)              - Hydrogenics (HYGS)
- Synaptics (SYNA)              - Cray (CRAY)               - Veritone (VERI)                                               - Lithia Motors (LAD)                                   - JINKO Solar (JKS)*              - Ironclad (ICPW)
- Tower Semi. (TSEM)            - Quantum (QTM)             - Xactly Corporation (XTLY)                                     - Motorcar Parts (MPAA)                                 - Ormat Technologies (ORA)*       - Kornit Digital (KRNT)
- Xperi Corp. (XPER)            - Seagate (STX)             - Zendesk (ZEN)                                                 - Research Frontiers (REFR)                             - Pacific Ethanol (PEIX)          - Lakeland Industries (LAKE)
Semiconductor Equipment         - Western Digital (WDC)     - Zix Corp. (ZIXI)                                              - Sevcon, Inc. (SEV)                                    - Plug Power (PLUG)               - Methode Electronics (MEI)
- Aehr Test Systems (AEHR)                                  Internet Content & Advert.                                      - Spartan Motors (SPAR)                                 - Power Solutions (PSIX)          - Orion Energy (OESX)
- Applied Materials (AMAT)                                  - Akamai (AKAM)                                                 - Titan Machinery (TITN)                                - SolarEdge (SEDG)*               - Perceptron (PRCP)
- Axcelis (ACLS)                                            - Cars.com (CARS)                                               - Wabash National (WNC)                                 - Westport (WPRT)                 - Proto Labs (PRLB)
- AXT Inc. (AXTI)                                           - Izea (IZEA)                                                                                                                                             - Stratasys (SSYS)
- CyberOptics (CYBE)                                        - Rubicon Project (RUBI)                                                                                                                                  - Telenav (TNAV)
- Entegris (ENTG)                                           - SITO Mobile (SITO)
- FormFactor (FORM)                                         - TechTarget (TTGT)                                                                                                    CONSUMER
- PDF Solutions (PDFS)                                      - The Hackett Group (HCKT)                                      Consumer Goods & Svcs.        - EVINE (EVLV)               - MarineMax (HZO)              - Senomyx (SNMX)
- Teradyne (TER)                                            - TrueCar (TRUE)                                                - 1-800-flowers.com (FLWS)    - Famous Dave's (DAVE)       - MGP Ingredients (MGPI)       - Weight Watchers (WTW)
- Ultra Clean (UCTT)                                        - Zillow (ZG)                                                   - Amplify Snack (BETR)*       - FTD Companies (FTD)        - Nutrisystem (NTRI)           - ZAGG (ZAGG)
- Xcerra (XCRA)                                                                                                             - Barnes & Noble (BKS)        - Glu Mobile (GLUU)*         - Orchids Paper (TIS)
                                                                                                                            - Barnes & Noble Ed. (BNED)   - HSN, Inc. (HSNI)           - Red Lion Hotels (RLH)
                                                                                                                            - Build-a-Bear (BBW)          - J. C. Penney (JCP)         - S&W Seed (SANW)
                                                                                                                            - Care.com (CRCM)             - Land's End (LE)            - Scientific Games (SGMS)
* Denotes companies with suspended coverage                                                                                 - Century Casinos (CNTY)      - Liberty Interactive (QVCA)




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Leading Underwriter for Follow-On Equity Offerings (Sub $500 Million Market Caps)
   Craig-Hallum has completed the most follow-on offerings (74) and second most lead book-run offerings (37) in the last 4 years
   Includes underwritten follow-on offerings greater than $5 million for companies with less than $500 million in market
    capitalization – excludes biotechnology and financial services companies

                                                                         FOUR YEARS ENDED DECEMBER 31, 2016

                                   Lead Book-Runner                                                                      Managing Underwriter
        Rank                                 Underwriter                                 Number                  Rank             Underwriter               Number
          1                       Roth Capital Partners, LLC                                 39                    1    Craig-Hallum Capital Group LLC         74
          2                  Craig-Hallum Capital Group LLC                                  37                   1         Roth Capital Partners, LLC         74
          3                      Cowen and Company, LLC                                      31                   3           Canaccord Genuity Inc.           55
          4                         Canaccord Genuity Inc.                                   27                   4         Cowen and Company, LLC             48
          5                        Jefferies & Company, Inc.                                 21                   5      Raymond James & Associates, Inc.      40
          6                       Aegis Capital Corporation                                  17                   6       William Blair & Company, LLC         36
          7                    William Blair & Company, LLC                                  16                   7       Ladenburg Thalmann & Co. Inc.        33
          8                       J.P. Morgan Securities LLC                                 15                   8              Piper Jaffray & Co.           30
          8                      Stifel, Nicolaus & Company                                  15                   8         Stifel, Nicolaus & Company         30
          10                          B. Riley & Co., LLC                                    14                   10        Needham & Company, LLC             29
          10                          Barclays Capital Inc.                                  14                   11         Jefferies & Company, Inc.         27
          10                            H.C. Wainwright                                      14                   12        J.P. Morgan Securities LLC         26
          10                   Ladenburg Thalmann & Co. Inc.                                 14                   12        Wells Fargo Securities, LLC        26
          10                          Maxim Group, LLC                                       14                   14         Northland Securities, Inc.        25
          10                           Piper Jaffray & Co.                                   14                   14         Oppenheimer & Co. Inc.            25
          16                      Morgan Stanley & Co. LLC                                   12                   16             B. Riley & Co., LLC           24
          16                       Oppenheimer & Co. Inc.                                    12                   17             Barclays Capital Inc.         23
          16                  Raymond James & Associates, Inc.                               12                   17              H.C. Wainwright              23
          19                     Needham & Company, LLC                                      11                   17            Maxim Group, LLC               23
          20                    Citigroup Global Markets, Inc.                               10                   20         Aegis Capital Corporation         21


Source: S&P Capital IQ
Includes offerings greater than or equal to $5 million for non-biotechnology, non-financial services U.S.
companies listed on major U.S. exchanges
                                                                                                            10
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Recent Craig-Hallum Financings
        Managing underwriter or placement agent for over 160 equity offerings since January 1, 2013 – raising over $8.5 billion
        $10 million              $5 million              $36 million              $43 million             $29 million              $120 million            $261 million              $40 million            $5 million             $7 million              $38 million


              1                      2                        3                        4                        5                       6                        7                        8                     9                      10                       11


      Common Stock            Common Stock            Common Stock              Common Stock            Common Stock             Common Stock            Common Stock             Common Stock           Common Stock          Common Stock           Initial Public Offering
     Joint Book-Runner       Lead Book-Runner        Lead Book-Runner            Co-Manager             Lead Manager              Co-Manager              Co-Manager              Financial Advisor     Exclusive Advisor      Exclusive Advisor            Co-Manager
      August 17, 2017         August 17, 2017           July 20, 2017            July 20, 2017           July 14, 2017            June 27, 2017           June 7, 2017              June 7, 2017          May 25, 2017          May 19, 2017               May 12, 2017
           LAKE                   NLST                     APEN                     USAT                    WPRT                     RGEN                    EXAS                      UPLD                  EVLV                  EMAN                        VERI
         $8 million             $18 million             $171 million              $17 million            $25 million              $250 million            $17 million                $28 million          $35 million            $16 million                $24 million


             12                      13                       14                      15                       16                       17                       18                      19                    20                      21                       22


    Convertible Preferred     Common Stock            Common Stock              Common Stock            Common Stock               Senior Notes          Common Stock              Convertible Debt      Common Stock           Common Stock            Common Stock
       Co-Manager              Co-Manager              Co-Manager                Sole Manager            Co-Manager                Co-Manager           Sole Book-Runner         Sole Placement Agent     Co-Manager          Sole Placement Agent       Co-Manager
       May 12, 2017            April 28, 2017          April 27, 2017            April 13, 2017          April 7, 2017             April 1, 2017         March 23, 2017             March 15, 2017       March 2, 2017         February 24, 2017       December 16, 2016
          DXTR                    FCEL                    TRUE                      AEHR                    CDXS                     ORBC                     QUIK                      CDNA                 AXTI                    MATR                    LMB
       $20 million              $52 million             $15 million               $3 million             $150 million               $4 million             $45 million                $6 million          $144 million             $12 million            $12 million


             23                      24                       25                      26                       27                       28                       29                      30                    31                      32                       33


      Common Stock            Common Stock          Initial Public Offering     Common Stock          Senior Credit Facility     Common Stock          Initial Public Offering      Common Stock          Common Stock          Common Stock             Common Stock
     Lead Book-Runner        Joint Book-Runner            Co-Manager          Sole Placement Agent    Sole Placement Agent     Sole Placement Agent         Co-Manager           Sole Placement Agent      Co-Manager            Co-Manager            Joint Book-Runner
     December 15, 2016       December 9, 2016        December 8, 2016         November 15, 2016         October 21, 2016         October 18, 2016         October 7, 2016         September 23, 2016    September 22, 2016    September 16, 2016       September 16, 2016
           RLH                     HDSN                      SNES                    FSNN                     QTM                      ICCC                    MRAM                     AEHR                  OCLR                  SITO                     NLST
        $107 million             $10 million             $288 million              $5 million              $9 million               $43 million              $14 million              $10 million           $90 million           $16 million              $6 million


             34                      35                       36                      37                       38                       39                       40                      41                    42                      43                       44


      Common Stock             Common Stock          Convertible Notes          Warrant Exercise        Common Stock             Common Stock            Common Stock             Common Stock           Common Stock           Common Stock          Convertible Preferred
       Co-Manager           Sole Placement Agent       Co-Manager             Sole Placement Agent    Sole Placement Agent        Co-Manager            Sole Book-Runner         Co-Placement Agent       Co-Manager           Joint Book-Runner      Lead Placement Agent
    September 16, 2016       September 15, 2016      September 7, 2016          August 19, 2016         August 12, 2016          August 5, 2016           July 29, 2016              July 7, 2016         June 17, 2016           June 14, 2016           May 26, 2016
          CALD                     EVLV                   IPHI                       EMAN                   NEON                    DMRC                     CEMI                        SEV                 BIOS                     VIVE                    AIRI
       $100 million              $19 million            $6 million                 $6 million              $19 million            $230 million            $676 million              $144 million           $6 million             $100 million             $5 million


             45                      46                       47                      48                       49                       50                       51                      52                    53                      54                       55


     Convertible Notes      Convertible Preferred     Common Stock              Common Stock           Common Stock             Convertible Notes       Convertible Notes        Convertible Notes       Common Stock            Senior Notes            Common Stock
       Co-Manager           Sole Placement Agent        Sole Manager          Sole Placement Agent    Sole Book-Runner            Co-Manager              Co-Manager               Co-Manager             Sole Manager           Co-Manager               Co-Manager
       May 19, 2016             May 10, 2016          January 29, 2016         December 18, 2015      December 11, 2015         December 3, 2015        December 2, 2015         November 11, 2015       October 7, 2015        October 1, 2015        September 25, 2015
         RGEN                      VTNR                    ICCC                      EMAN                  HYGS                      IPHI                   NUAN                      ACET                  NEON                      TA                     SYRX
       $19 million               $13 million             $4 million                $16 million            $3 million              $25 million             $29 million              $104 million            $50 million            $31 million             $150 million


             56                      57                       58                      59                       60                       61                       62                      63                    64                      65                       66


      Common Stock            Common Stock            Common Stock              Common Stock            Common Stock           Convertible Preferred     Common Stock              Common Stock          Common Stock         Convertible Preferred    Convertible Notes
       Co-Manager              Sole Manager            Sole Manager              Co-Manager           Sole Placement Agent     Sole Placement Agent       Co-Manager                Co-Manager            Co-Manager          Sole Placement Agent       Co-Manager
      August 21, 2015         August 12, 2015         August 7, 2015             July 7, 2015              July 7, 2015            June 24, 2015          June 18, 2015             May 22, 2015          May 21, 2015            May 20, 2015           May 20, 2015
           GIG                    CYRN                    SHSP                     ETRM                       TBIO                    VTNR                   SPCB                     HSTM                  NPTN                      RLJE                 ININ
        $5 million             $344 million             $35 million              $35 million              $115 million             $115 million            $13 million              $69 million            $7 million              $19 million           $12 million


             67                      68                       69                      70                       71                       72                       73                      74                    75                      76                       77


      Common Stock            Common Stock            Common Stock              Common Stock           Convertible Notes        Convertible Notes        Common Stock              Common Stock          Common Stock           Common Stock             Common Stock
       Sole Manager            Co-Manager              Co-Manager                Co-Manager              Co-Manager               Co-Manager              Sole Manager              Co-Manager            Sole Manager           Sole Manager             Sole Manager
       May 7, 2015             May 6, 2015             April 29, 2015            April 24, 2015          April 2, 2015           March 25, 2015          March 12, 2015             March 5, 2015       February 27, 2015      February 20, 2015        February 19, 2015




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Craig-Hallum Convertible Offerings
   Craig-Hallum has managed over 20 convertible offerings since 2013, raising over $2.8 billion for our clients

                                                  RECENT CONVERTIBLE TRANSACTIONS

        $28 million               $288 million                   $6 million                   $115 million                     $19 million

          CDNA                        InPHI                         AIRI                         RGEN                            VTNR

      Convertible Debt           Convertible Notes        Convertible Preferred Stock        Convertible Debt          Convertible Preferred Stock
    Sole Placement Agent           Co-Manager               Lead Placement Agent               Co-Manager                Sole Placement Agent
      March 15, 2017            September 7, 2016               May 26, 2016                  May 18, 2016                    May 10, 2016

       $230 million               $676 million                  $144 million                   $25 million                    $150 million

           IPHI                      NUAN                           ACET                          VTNR                            ININ

     Convertible Debt             Covertible Debt              Convertible Debt         Convertible Preferred Stock          Convertible Debt
       Co-Manager                  Co-Manager                    Co-Manager               Sole Placement Agent                 Co-Manager
    December 1, 2015            November 30, 2015            November 11, 2015                June 24, 2015                   May 20, 2015

        $31 million                $115 million                 $115 million                   $27 million                    $245 million

            rlje                      TRIB                          SAAS                          SANW                          LIGAND

Convertible Preferred Stock      Convertible Debt              Convertible Debt             Convertible Debt                 Convertible Debt
  Sole Placement Agent             Co-Manager                    Co-Manager               Lead Placement Agent                 Co-Manager
       May 20, 2015               April 2, 2015                March 25, 2015              December 31, 2014                 August 13, 2014




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Craig-Hallum Senior Banker Biographies
   STEVE RICKMAN, Managing Director - Investment Banking M&A
   Mr. Rickman has over 20 years of experience advising growth companies on strategic M&A, private and public financings and
   strategic advisory. Mr. Rickman has completed over 70 transactions with an aggregate deal value of more than $4 billion.
   Prior to joining Craig-Hallum, Mr. Rickman was a Managing Director with Excellerate Advisors where he focused on companies in
   the healthcare and technology sectors. Previously, Mr. Rickman was Head of Technology Investment Banking at Cantor Fitzgerald
   where he led a team of more than 20 investment bankers and research analysts. Mr. Rickman has also held previous positions
   including Head of the Internet and Software M&A team at Piper Jaffray and Senior Vice President with Dain Rauscher Wessels
   where he focused on healthcare technology and services for more than five years .
   Stanford University, M.S., University of Minnesota, Carlson School of Management, M.B.A., with Distinction

   JOHN FLOOD, Managing Partner, Chairman

   Mr. Flood has over 30 years of capital markets, investment banking, and equity sales experience across a wide variety of sectors. He
   has overseen transactions totaling over $2.5 billion in value, assisting companies in accessing the institutional public market.
   Mr. Flood was a founding partner at Craig-Hallum in 1997 and has been with the company for more than 20 years. At Craig-
   Hallum, he has completed well over 100 equity offerings primarily for small and mid-cap companies. Prior to Craig-Hallum, Mr.
   Flood initiated the Institutional Equity efforts at Summit Investments and Miller, Johnson and Kuehn.

   University of Minnesota, B.S.

   RICK HARTFIEL, Partner, Head of Investment Banking
   Mr. Hartfiel joined Craig-Hallum as the Director of Investment Banking in 2005. He brings over 25 years of investment banking
   experience focused on emerging growth companies. At Craig-Hallum, Rick has managed over 200 equity offerings (IPOs, follow-
   on offerings, registered directs and PIPEs) and M&A transactions.

   Prior to joining Craig-Hallum, Rick was a Managing Director at Dain, Rauscher, Wessels — a national investment banking firm
   covering technology, consumer, and healthcare companies. Previously, Rick was an investment banker at Credit Suisse First
   Boston. Mr. Hartfiel has a B.A., magna cum laude , from Amherst College, and an MBA from Harvard Business School.

   Amherst College, B.A., magna cum laude, Harvard Business School, M.B.A.
                                                                     13
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                                    PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

  3   A true and correct copy of the foregoing document entitled FINAL APPLICATION OF CRAIGHALLUM
      CAPITAL GROUP LLC FOR APPROVAL OF FEES AND REIMBURSEMENT OF EXPENSES;
  4   DECLARATION OF STEVE RICKMAN IN SUPPORT THEREOF will be served or was served (a) on the
      judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
  5   below:

  6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  7   hyperlink to the document. On November 21, 2017, I checked the CM/ECF docket for this bankruptcy
      case or adversary proceeding and determined that the following persons are on the Electronic Mail
  8   Notice List to receive NEF transmission at the email addresses stated below:

  9            Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
               Ron Bender rb@lnbyb.com
 10            Cathrine M Castaldi ccastaldi@brownrudnick.com
               Russell Clementson russell.clementson@usdoj.gov
 11            Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
               Matthew A Gold courts@argopartners.net
 12            Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
               Jeffrey A Krieger jkrieger@ggfirm.com,
 13             kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenberggl
                usker.com
 14            Samuel R Maizel samuel.maizel@dentons.com,
                alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons
 15             .com;kathryn.howard@dentons.com
               Krikor J Meshefejian kjm@lnbrb.com
 16            Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
               S Margaux Ross margaux.ross@usdoj.gov
 17            United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
               Sharon Z. Weiss sharon.weiss@bryancave.com, raul.morales@bryancave.com
 18
 19   2. SERVED BY UNITED STATES MAIL: On November 21, 2017, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
      and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
 20   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 21
 22                                                                           Service information continued on attached page
 23
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
 24   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
      on November 21, 2017, I served the following persons and/or entities by personal delivery, overnight
 25   mail service, or (for those who consented in writing to such service method), by facsimile transmission
      and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or
 26   overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

 27
 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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  1
      Served via Attorney Service
  2   Hon. Martin R. Barash
      United States Bankruptcy Court
  3   21041 Burbank Boulevard, Suite 342
      Woodland Hills, CA 91367
  4
      I declare under penalty of perjury under the laws of the United States of America that the foregoing is
  5   true and correct.

  6    November 21, 2017                    Stephanie Reichert                           /s/ Stephanie Reichert
       Date                                 Type Name                                    Signature
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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
        Case 1:17-bk-12408-MB        Doc 235 Filed 11/21/17 Entered 11/21/17 14:31:03       Desc
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Ironclad Performance Wear (8300)       Debtor                            United States Trustee
Debtor, OUST, Committees               ICPW Liquidation Corporation      915 Wilshire Blvd., Suite 1850
                                       15260 Ventura Blvd., 20th Floor   Los Angeles, California 90017
                                       Sherman Oaks, CA 91403




Creditors Committee:



Committee Counsel                      Resources Global Professionals    Winspeed Sports (Shanghai) Co., LTD
Brown Rudnick LLP                      c/o Brent Waters                  c/o Brian Mitteldorf
Attn: Cathrine M Castaldi              17101 Armstrong Ave               Creditors Adjustment Bureau
2211 Michelson Dr 7th Fl               Irvine, CA 92614                  14226 Ventura Blvd.
Irvine, CA 92612                                                         Sherman Oaks, CA 91423

PT Sport Glove Indonesia
c/o Mark C. Robba
Kranoon Desa Pandowoharjo
Sleman Yogyakarta 55512
Indonesia




Equity Committee:



Equity Committee Counsel               Patrick W O’Brien                 Ronald Chez
Dentons US LLP                         301 Whitmore Lane                 1524 N. Astor Street
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601 South Figueroa St., Suite 2500
Los Angeles, CA 90017-5704

Scott Jarus
938 Duncan Avenue
Manhattan Beach, CA 90266
